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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

Bk. No.: 19-1727
STEPHANIE ABDELBARY,

Plaintiffs, REMAND ORDER

VS,

JOHNSON & JOHNSON;

and
JOHNSON & JOHNSON CONSUMER, INC., f/k/a
JOHNSON & JOHNSON CONSUMER
COMPANIES, INC.

Defendants.

 

 

THIS MATTER having been opened to the Court on the Report and Recommendation of
the Honorable Kathryn Ferguson, Chief Judge of the Bankruptcy Court for the District of New
Jersey (“Bankruptcy Court”), filed in the numerous bankruptcy cases listed in Exhibit A (“Subject
Cases”) attached to this Order; it appearing that defendant Johnson & Johnson and Johnson &
Johnson Consumer Inc., f/k/a Johnson & Johnson Consumer Companies, Inc. (collectively,
“T&J”), removed the Subject Cases, which are products liability actions involving J&J’s talcum
powder products, from state court to the Bankruptcy Court; it appearing that on July 2, 2019, upon
plaintiffs’ motions for remand, the Bankruptcy Court recommended that all Subject Cases be
remanded to state court pursuant to 28 U.S.C. §§ 1334(c)(1) and 1452(b); it appearing that
exercising de novo review of the matter pursuant to Fed. R. Bankr. P. 9033(d), this Court may
accept, reject or modify, in whole or in part, the findings and recommendations made by the
Bankruptcy; it appearing that no objections have been filed by Defendant, it appearing that because
this Court finds, independently, that the Report and Recommendation of the Bankruptcy Court is
well founded in law and supported by the record, this Court hereby adopts the recommendations

in their entirety; accordingly,
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IT IS HEREBY ORDERED this 13th day of September that the Report and
Recommendation by the Bankruptcy is hereby, INCORPORATED by reference and ADOPTED
in its entirety;

IT IS FURTHER ORDERED that all Subject Cases listed in Exhibit A, attached hereto,

is hereby remanded to the Superior Court of New Jersey, Atlantic County, Law Division.

/s/ Freda L. Wolfson
FREDA L. WOLFSON
U.S. Chief District Judge
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